Case 1:08-cv-01693-MSK-KLM Document 190 Filed 06/05/09 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                              HONORABLE MARCIA S. KRIEGER

   Courtroom Deputy:     Patricia Glover                       Date: June 5, 2009
   Court Reporter:       Paul Zuckerman

   Civil Action No. 08-cv-01693-MSK-KLM

   Parties:                                                    Counsel Appearing:

   MUSE JAMA,                                                  Mark Silverstein
   JOSE ERNESTO IBARRA,                                        Taylor Pendergrass
   DENNIS MICHAEL SMITH, and                                   Ty Cheung Gee
   SAMUEL POWELL MOORE,


                 Plaintiff,

   v.

   CITY AND COUNTY OF DENVER,
   MARK DALVIT, a detective with the Denver Police             Stuart Shapiro
   Department, in his individual capacity,                     L. Douglas Jewell
   CURT PETERSON, an officer with the Denver Police            Sonja McKenzie
   Department, in his individual capacity,                     Thomas Rice
   JOHN BISHOP, an officer with the Denver Police
   Department, in his individual capacity,
   C.A.M., whose true name is unknown, a law enforcement
   officer working for the City and County of Denver, in his
   or her individual capacity,
   CHOICE JOHNSON, an officer with the Denver Police
   Department, in his individual capacity,
   ANDREW RICHMOND, an officer with the Denver Police
      Department, in his individual capacity, and
   PAUL ORTEGA, a sergeant with the Denver Sheriff
   Department, in his individual capacity,

                 Defendants.


                                   COURTROOM MINUTES


   HEARING:      Law and Motion
Case 1:08-cv-01693-MSK-KLM Document 190 Filed 06/05/09 USDC Colorado Page 2 of 2




   Courtroom Minutes
   Judge Marcia S. Krieger
   Page 2

   3:04 p.m.     Court in session

   The Court addresses Motion to Sever.

   Argument by Mr. Rice on behalf of all defendants and Mr. Gee on behalf of plaintiffs.

   ORDER:        Defendants’ Motion to Sever (Doc. #19) is DENIED with leave to renew at the
                 time the ruling on the dispositive motion has been made

   The Court addresses Defendant City and County of Denver’s Motion to Set Aside (Doc. #110)

   Argument by counsel Shapiro and Gee.

   ORDER:        Defendant’s Motion to Set Aside the judgment in favor of Plaintiff Davis is
                 DENIED.

   The Court addresses Defendant’s Objections (Doc. #166) to the Magistrate Judge’s April 27,
   2009 Order (Doc# 153) granting Carlos Sanchez’s Motion to Intervene (Doc. # 117).

   No further argument.

   ORDER:        the Defendants’ objections are overruled and the Court affirms the Magistrate
                 Judge’s Order (Doc. #153) permitting Mr. Sanchez’s intervention.

   The Court addresses Defendants’ Objections (# 168) to the Magistrate Judge’s April 29, 2009
   Order (# 155) granting in part the Plaintiffs’ Motion for Approval to Disclose Discrete
   Statements Made In a Settlement Conference (# 130).

   No further argument.

   ORDER:        the Defendants objections are overruled soley because they are moot

   The Court addresses Plaintiffs’ Renewed Motion to Strike (# 180).

   No further argument.

   ORDER:        The Plaintiffs’ Motion to Strike (Doc. #180) is DENIED as moot.

   4:16 p.m.    Court in recess.
   Total Time: 1 hour 12 minutes.
   Hearing concluded.
